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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

CAMRON SNEED                                     '
    Plaintiff,                                   '
                                                 '
v.                                               '   Civil Action No. 1:19-cv-608
                                                 '   Jury Trial
AUSTIN INDEPENDENT SCHOOL                        '
DISTRICT,                                        '
     Defendant.                                  '

                     PLAINTIFF=S SECOND AMENDED COMPLAINT

       NOW COMES Camron Sneed, (Athe Plaintiff@) and files this her Second Amended

Complaint alleging that the Austin Independent School District (hereinafter referred to as “Austin

ISD@, AAISD@ or the ASchool District@), violated the various rights of Camron Sneed as more

specifically pled herein. Plaintiff reserve the right to replead if new claims and issues arise upon

further development of the facts, as permitted by law. In support thereof Plaintiff would

respectfully show this tribunal the following:

                         I. BRIEF INTRODUCTION TO THE CASE

1.     This is a case about an African American student, Camron Sneed, who was a victim of

       bullying, harassment, discrimination, and retaliation based on her race.

2.     While a student at James Bowie High School in the Austin Independent School District

       Camron Sneed was called and referred to by racial slurs, creating a racist and hostile

       educational environment where racial jokes and slurs were blatantly permitted in the

       classroom, clubs such as band and Future Farmers of America (AFFA@) and often in the

       presence of teachers. Camron had her FFA equipment vandalized and animals were

       injured, and witnessed a stuffed object hanging from a noose in her designated FFA area.

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     These incidents took place in classrooms and the FFA area at James Bowie High School.

     As incidents of this type of abuse continued, Camron began to show behavioral changes,

     including loss of appetite, headaches, uncontrollable crying spells, stomach aches, fatigue,

     and insomnia. The School District knew about these incidents, as Camron=s parents

     complained to school staff on numerous occasions.

3.   Nevertheless, the family=s complaint were never investigated pursuant to federal law, rules,

     or executive guidelines, nor were the family=s complaints ever investigated pursuant to the

     School District=s own policies and procedures regarding allegations of bullying,

     harassment, and retaliation based on race. Further, the School District failed to remediate

     the effects of the racial harassment and bullying Camron experienced.

4.   The family feels compelled to tell their story in hopes that it will help other families who

     have experienced similar situations, as well as have a healing effect for both Camron and

     the family.

5.   As such and as will be fully described below, Plaintiff now bring forth claims pursuant to

     Title VI of the Civil Rights Acts of 1964, 42 U.S.C. ' 2000 et seq. and the 14th

     Amendment to the United States Constitution.

                                    II. JURISDICTION

6.   Jurisdiction is conferred upon this Court pursuant to 28 U.S.C.A. '1331 and '1343 because

     the matters in controversy arise under the laws and rules of the United States as noted

     above.

7.   This Court also has jurisdiction to award attorney=s fees and costs to the Plaintiff pursuant




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         to 42 U.S.C. '2000d et seq. and 42 U.S.C. '1988.

                                                   III. VENUE

8.       Under 28 U.S.C. '1391, venue is proper before this Court because the events and omissions

         giving rise to the Plaintiff=s claims occurred in the Western District of Texas and in the

         Austin Division.

                                                  IV. PARTIES

9.       Camron Sneed lives in Texas with her parents, Charles E. Sneed, Sr. and Pamela J. Parks

         in Austin, Texas, 78744. They live within the AISD catchment area.

10.      The Austin Independent School District is a school district organized under the laws of the

         State of Texas. At all times pertinent to this case, Camron was a student at the Austin

         Independent School District. The Austin ISD has been served and have answered the

         Complaint. Plaintiff are represented by their counsel of record, Jonathan Brush and May

         Demmler with the law firm of Morris and Grover.

                                       V. STATEMENT OF FACTS

A.       A BRIEF HISTORY OF TITLE VI OF THE CIVIL RIGHTS ACTS OF 1974

11.      Title VI of the Civil Rights Act of 1964 provides that no person in the United States shall,

         on the grounds of race, color, or national origin, be excluded from participation in, be

         denied the benefits of, or be subjected to discrimination under any program or activity

         receiving Federal financial assistance. 42 U.S.C. '2000d.1

12.      The Department of Justice was given authority to develop regulations on the topic. For



1
 . It is uncontroverted that the School District receives federal monies and must follow the requisites of Title VI.

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         instance, after public hearing it promulgated, Non-discrimination in Federally Assisted

         Programs- Implementation of Title VI of the Civil Rights Act of 1964 notes that

         discrimination is prohibited in that a recipient of federal funds, like the Austin Independent

         School District cannot use race or nationality as a factor in denying a service or benefit2;
                                                                             3
         or subject a person to separate treatment, or restricting               a student from enjoying an

         advantage or opportunity4 given to another student based upon race or nationality. See 28

         C.F.R. '42.104.

13.      Moreover, the District must provide assurances to students that they are in compliance

         with the law by making available to the students information about these regulations

         including, among other things, the complaint process and the name of the person at the

         School District who is designated to address concerns of discrimination based upon race.

         See 28 C.F.R. '42.106(d); '42.107; see also 34 C.F.R. '100.4 (the United States

         Department of Education, by and through its Office of Civil Rights, has been given

         authority to investigate allegations of discrimination based upon race and allegations of

         violations of Title VI)5.

14.      Importantly, 28 C.F.R. Subpart F [Coordination of Enforcement of Nondiscrimination in

         Federally Assisted Programs] reiterates much of what is addressed above in Subpart C. It



2
 . See also 34 C.F.R. '100.3(b)(1)(iii).

3
 . See also 34 C.F.R. '100.3(b)(1)(iv).
4
 . See also 34 C.F.R. '100.3(b)(1)(vi).
5
 . See 59 Fed. Reg. (No 47) March 10, 1994 [Racial Incident and Harassment Against Students]; 68 Fed. Reg. (No.
219) 68050, November 13, 2000.


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      requires the School District to provide information to students about Title VI throughout

      the school environment, whether it be in posters, student handbooks, manuals, pamphlets,

      websites and other material specific information about filing complaints. 28 C.F.R.

      '42.405 [Public Dissemination of Title VI Information]; see also 34 C.F.R. '100.6(d)

      [Information To Beneficiaries And Participants].

15.   In 1994 the DOE Office of Civil Rights (AOCR@) produced policy guidance entitled Racial

      Incidents and Harassment Against Students, 59 Fed. Reg 47 (March 10, 1994). It set the

      professional standards of care for addressing harassment when based upon race. The

      number one item was to create a campus environment by first, training staff and by

      providing related supervision, so that they and the entire educational community become

      sensitive to related concerns regarding bullying and harassment. Among other things it

      noted the importance of publicizing the issue, of non-toleration of harassment based upon

      race, training to students, of counseling to both the victim and perpetrator, of ongoing

      monitoring and follow up on incidents and ongoing assessment of the school climate and

      policies and practices to assure effectiveness.

16.   Moreover, it reiterated the importance of assuring the parents received notice of all their

      procedural safeguards, including notice of who the Title VI Coordinator was and the

      grievance procedures available, including those at the school level, state level and federal

      level. In addition, the District is required to explain to the family the investigatory process,

      notice of who is the correct staff person to address their concerns, information about the

      District=s duty to complete an investigation in a timely and complete manner, give copies

      of all investigatory findings to the parent and their right to appeal.


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17.     Importantly and in addition to all the above, the District has a duty to remedy the effects

        of the bullying and harassment a student experienced, a response tailored to the individual

        needs of the student and situation. It includes but is not limited to psychological testing and

        services, providing or paying for counseling services for the student, referral for medical

        and other community-based services, placing the students in different classes or

        environments or even removing the perpetrator from the hostile environment completely.

        In addition, a District may provide a one-to-one aide, social skills services, self-advocacy

        training and close monitoring of the victim. These professional guidelines and standards of

        care have been reiterated and reissued numerous times by and through the OCR in

        directives entitled a ADear Colleague Letter.@

B.      TEXAS LAW AND PROFESSIONAL STANDARDS OF CARE

18.     It is long-standing and well-settled law in Texas that educators have a duty to report abuse

        and neglect of a minor. See Texas Family Code '261.101; see also Texas Education Code

        '21.0066; 19 T.A.C. '61.1051. Abuse includes but is not limited to any type of conduct

        that causes or could cause emotional injury to a minor. Id. at '261.001(1)(A, B, E, F).

19.     In addition, School Boards were provided significant information from the Texas

        Association Of School Boards (ATASB@) on how to best respond to assaults, bullying and

        harassment, when it occurred. In fact, in September of 2008, TASB disseminated a

        memorandum entitled Harassment and Bullying Policies In Public Schools. It noted the

        requirement that school=s must have an active policy and practice regarding both teacher



6
 . This law was taken from Vernon=s Civil Statutes and codified in 1995.


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      upon student and Astudent-to-student harassment.@ It noted, the most recent applicable

      legislative changes. Among other things it noted that a school district could be liable when

      there is student upon student harassment and the district=s Adeliberately indifference cause

      students to undergo harassment or makes them vulnerable to it, and the harassment takes

      place in a context subject to the school district=s control.@

20.   In regard to addressing issues of assault, bullying and harassment it referred school districts

      in Texas to look to the U.S. Department of Education Office of Civil Rights, Protecting

      Students from Harassment And Hate Crimes: A Guide For Schools. In addition, the TASB

      also helped the Austin ISD to develop a number of very specific policies, procedures and

      practices related to bullying, harassment and assault.

21.   In 2011 the Texas Legislature again addressed bullying, harassment and sexual harassment

      in the public schools by passing comprehensive and far-reaching legislation on the topic.

      Put into the Texas Education Code, staff was required to have specialized training on the

      topic (Section 21.451) and that students were to be provided various types of assistance

      including counseling.

22.   In response to all the above, in 2012 TASB again provided School Districts in Texas

      guidance on addressing allegations of bullying and harassment. It promulgated updated

      versions of policies and procedures that a school board like the Austin ISD could adopt to

      address bullying and harassment, whether student upon student, teacher upon student, or

      both. The bulletin sent out to all Texas School Districts reiterated their duties to have a

      functional policy and procedure for reporting, investigating and issuing a determination

      regarding an allegation of bullying and harassment. It also reiterated the duty to train not


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      only staff but students on issues regarding bullying and harassment. It further underscored

      and reiterated the duty for staff to report allegations of harassment between a teacher and

      student to child protective services. Texas Family Code 261.101(b). It reiterated School

      District liability under operative caselaw, like Gebser v. Lago Vista Indep. School Dist.,

      524 U.S. 274, 291, 118 S.Ct. 1989, 141 L. Ed. 2d 277 (1998) and Davis v. Monroe County

      Board Of Ed., 526 U.S. 629 (1999) reliance upon and the importance of OCR Guidelines.

C.    AUSTIN ISD POLICIES AND PROCEDURES

23.   The Austin ISD has long had, and re-authorized policies and procedures related to

      Student Welfare and keeping students free from Discrimination, Harassment &

      Retaliation (FFH Local) which address, among other things, bullying, harassment, and

      assault.

24.   In particular, it sets out definitions of discrimination and harassment based upon race and

      nationality.

25.   The District has a one (1) page policy and procedure FB (LOCAL) that deals with “EQUAL

      EDUCATIONAL OPPORTUNITY.” It notes the responsibility of the persons who

      handle complaints dealing sexual harassment (Tile IX Coordinator”), discrimination based

      upon disability (ADA/Section 504 Coordinator and that the Superintendent “serves as the

      coordinator for District compliance with all other non-discrimination law.” Nowhere in

      the policy does the Board specifically what other laws, the Superintendent may be

      responsible for. It lets the public look to another document, FB (EXHIBIT) for further

      information for these coordinators. Race is not mentioned.

26.   Policy FFH (LEGAL) is one (1) page deals with “STUDENT WELFARE- FREEDOM

      FROM DISCRIMINATION, HARASSMENT, AND RETALIATION.” It only deals
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      with violations of Title IX regarding sexual harassment. Race is not mentioned.

27.   FFH (REGULATION) is a thirteen (13) page policy that also deals with “STUDENT

      WELFARE-        FREEDOM        FROM      DISCRIMINATION,           HARASSMENT,          AND

      RETALIATION.” It too notes that discrimination based upon race, color or nationality

      is prohibited, and again only on the first page. The rest of the policy addresses freedom

      from discrimination and is heavily weighted to discrimination based upon disability

      (Section 504 and the ADA) or sex. (Title IX). Like those before it, it also briefly notes

      that the Superintendent “serves as the coordinator for District compliance with all other

      non-discrimination law” but again, nowhere in the policy does the Board specifically what

      other laws, the Superintendent may be responsible for. Like those before it, race is not

      mentioned again.

28.   FFH (LOCAL) is a seven (7) page policy that also deals with “STUDENT WELFARE-

      FREEDOM FROM DISCRIMINATION, HARASSMENT, AND RETALIATION.” It

      does note that discrimination based upon race, color or nationality is prohibited on the first

      page. The rest of the policy addresses freedom from discrimination based upon disability

      (Section 504 and the ADA) or sex. (Title IX). It too notes that the Superintendent “serves

      as the coordinator for District compliance with all other non-discrimination law.” Again,

      nowhere in the policy does the Board specifically what other laws, the Superintendent may

      be responsible for. Race is not mentioned again.

29.   Notwithstanding its emphasis on disability discrimination and sexual harassment FHH

      (LOCAL) has sections that are applicable to discrimination based upon race.

30.   It has a section dealing with the duty to not retaliate against anyone because a complaint


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      has been filed on their behalf. It provides information about the reporting and investigatory

      process. It requires allegations of harassment based on race and nationality to be directed

      to the School District=s Superintendent, and the family be given that person=s contact

      information.

31.   The family also was required to receive actual notice of their procedural rights. The school

      District=s investigation needed to be completed in a timely manner, usually less than 10

      days, then a written report should be developed, and interim action taken, as appropriate.

      The report must address whether or not prohibited contact occurred and must be filed with

      the relevant School District Official. If a student is not classified with the outcome of the

      investigation, they have the right to appeal the decision through the District=s grievance

      procedure or even with the Office of Civil Rights with the U.S. Department of Education.

      (FFH Local).

32.   The Policies also note a non-exhaustive list of potential corrective actions. They include,

      for instance, a training program for those involved in the complaint, counseling for the

      victim and even the perpetrator. There also had to be a system to follow up with the victim

      to assess the effectiveness of any intervention that may have been provided. There should

      also be, where warranted, a comprehensive education program for the school community.

      The district should also address increasing staff monitoring. (FFH Local).

33.   Importantly, the School Board has developed a list of required professional staff

      development subjects for staff. (DMA LEGAL). There are several that focus on topics of

      disability and sexual harassment; however, there is nothing on that list that requires staff

      to take any particular training on dealing with race or cultural sensitivity issues. Nor is


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      there is any specific training provided on what is termed Aimplicit bias@ or Aunconscious

      bias.@

34.   The Austin Independent School District lack of policies and procedures regarding racial

      bias shows how they fail to make discrimination based upon race an issue of importance.

D.    ABOUT THE ASSISITANT SUPERINTENDENT POSITION

35.   Dr. Craig Shapiro is the Assistant Superintendent for all high schools within the Austin

      Independent School District. There are a total of twelve (12) high school in the District.

      Additionally, there are a number of charter and magnet schools.

36.   Dr. Shapiro is supervised by the Superintendent, Dr. Paul Cruz.

37.   Upon reason and belief, Plaintiff reasonably believe Dr. Shapiro is the Superintendent’s

      delegee to address Title VI Complaints. He is responsible for the supervision of the Special

      Education Executive Director and the Multilingual Education Executive Director; he

      oversees the High Schools Executive Director, the high schools, the athletics and Career

      and Technical Education (CTE).

E.    ABOUT C.S.

38.   Camron Sneed was born in 2002. She is now seventeen (17) years old.

39.   During the period of time that makes the basis of this complaint, she was a student at James

      Bowie High School. She was a bright student who consistently earned high grades.

      Camron also participated in the FFA program at James Bowie High School, where she was

      the only African American student, and intends to be a Veterinarian.

F.    CAMRON SNEED=S EXPERIENCE AT THE AUSTIN ISD

               i. 2016-2017 SCHOOL YEAR


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40.   In fall of 2016 of her Freshman year, Camron began to experience bullying and

      harassment because of her race.

41.   Camron participated in marching band where she constantly heard people use the word
      nigger.

42.   When Ms. Parks addressed her concerns with the Band Director, she was told that the kids

      are just being kids.

43.   On or about November of 2016, Camron went on a trip with the marching band to

      Indianapolis, Indiana.

44.   While on the trip a fellow band member engaged in a conversation with Camron about

      her ethnic hair and told Camron “yall’s kind of hair looks like shit.”

45.   In December 2016, Camron Sneed and her mother were at the farm for the High School

      they were surrounded by a group of white males, present and former students, who hurled

      racial slurs and vulgar language, including “fuck that nigger,” “I’ll kill a fucking nigger,”

      “nigger bitch”, etc., at them as well as made aggressive body gestures.

46.   Ms. Parks confronted the group of white male students when she noticed her daughter

      became noticeably nervous and uncomfortable. The Agriculture teacher, Brad Pierce, who

      witnessed everything refused to intervene.

47.   Ms. Parks then called another Agriculture teacher, Tiffany Black, to inform her of the

      incident and let her know that Mr. Pierce was ignoring the racial slurs and inappropriate

      behavior by the group of white male students. Ms. Black insisted that Mr. Pierce to remove

      the group from the property, but he failed to do so and continued to teach “pig church.”

48.   Ms. Parks reported the incident to Susan Leos, Interim Principal, as well as Trevino,

      Assistant Principal, but they failed to do anything at all until Ms. Parks persisted with her

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      requests.

49.   After the incident, Ms. Parks was told by FFA alumni members that the kind of behavior

      her family experienced was normal, that some of the white males in the group were

      considered dangerous and the teachers were afraid of them. Ms. Parks was also warned that

      her family needed to be careful.

50.   Later that month, Ms. Leos and Mr. Trevino spoke at an FFA alumni meeting where they

      vaguely discussed inappropriate behaviors of students but failed to address that the

      incident was racially motivated and any corrective actions that would take place.

51.   Ms. Parks decided to speak at the meeting and explain the previous incident in detail.

52.   Ms. Parks was then told by Ms. Leos and Mr. Trevino that they would investigate the

      incident and that the campus police would conduct nightly checks of the farm with a

      curfew.

53.   The family reasonably believes the School District did nothing, as students continued to

      drink alcohol at the farm, vandalize, steal, and harass Camron.

54.   Instead of any corrective action plan being put in place, Ms. Parks was asked by Mr.

      Trevino, approximately five months after the incident, if she would like to receive an

      apology letter from the group of white male students which she never received.

55.   At the end of the school year, FFA students J.D., C.B., W.G., K.R., K.N., M.K., and K.C.,

      as well as some of their parents, began using racial slurs towards Ms. Parks such as Anigger

      bitch@ and Ablack bitch.@

56.   When Ms. Parks reported the incidents to Associate Superintendent Dr. Craig Shapiro,

      Beverly Reeves, and Susan Leos, she was told they were working on changing the culture


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      of the campus. Nevertheless, and to her knowledge, no action was taken.

57.   On or about April 29, 2017, Camron attended the Band Banquet for participating in the

      James Bowie High School Outdoor Performing Ensemble.

58.   To the family’s dismay, Camron was presented the “Sass-quash” award and was

      humiliated in front of hundreds of people.

59.   A simple internet search depicts sasquatch as a big-oversized monkey/gorilla.

60.   That summer Mr. Pierce and Ms. Black quit working at James Bowie High School.

             ii.     2017-2018 SCHOOL YEAR

61.   The 2017-2018 school year started with new Agriculture teachers, Amber Dickerson and

      Shelby Stephens, as well as a new Principal, Mark Robinson.

62.   Ms. Parks was asked to run for a position on the Alumni Board of the FFA program for the

      2017-2018 school year, and was told by Ms. Dickerson and Ms. Stephens that they were

      aware of the program=s racial tensions and would have zero tolerance for it.

63.   That year students continued to make racial jokes and hurl racial slurs in the presence of

      the Agriculture teachers with no repercussions.

64.   Additionally, the words Anigger@ had been scraped on boards at the farm, written on

      window in the pig barn prior to them being broken out, and in the girls’ restroom near the

      gym.

65.   Ms. Parks wrote an email to the Agriculture teachers to report the incidents. She then

      received an emailed from Ms. Leos who stated Ms. Parks needed to forward all

      communication to her going forward and that she would address any concerns Ms. Parks

      had from now on.


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66.   In October of 2017, Camron and Ms. Park found a white feed bag, stuffed to appear like a

      head, with a noose around the neck hanging above her equipment and pigs.

67.   Instead of removing the feed bag hanging from a noose in C.S.’s area, the Teacher allowed

      the student to write “Boo I’m a ghost” on the bag and was left to continue to torment C.S.

68.   After many failed attempts of addressing the racial discrimination Camron and her family

      consistently faced, Ms. Parks contacted the District office to inquire about who she

      addresses her concerns to when Ms. Leos stopped communicating with her.

69.   Ms. Parks was finally able to speak with Associate Superintendent of High Schools, Dr.

      Craig Shapiro. He too promised to investigate the incidents and asked Ms. Parks to meet

      with the new Principal to develop a plan of action, but he never did anything.

70.   When Ms. Parks met with the new Principal it was very apparent that he was not briefed

      on any of the incidents by Ms. Leos. Ms. Parks had to go over every incident and relive the

      trauma it caused Camron and the family. He never did anything either.

71.   Ms. Parks continued to advocate for her daughter and family, which unfortunately fell on

      deaf ears. In fact, Ms. Parks has two years of communications with Dr. Shapiro, Campus

      Administrations, teachers, and Dr. Cruz’s Assistant and never received a response.

72.   Due to the family=s correspondence with Administration regarding the racism they

      repeatedly experienced, Camron began experiencing disparate treatment and even

      retaliation.

73.   For instance when Camron ran for officer in the FFA program, she was given specific

      instructions/criteria to follow for speeches, the application, and behavior that was required

      in order to run for the position, but At the last minute the white students were allowed to

      sing, rap, and use power points for their speeches and Camron was not afforded the
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      same opportunity.

74.   When Camron asked the teacher about the change, she was told Student C kept begging

      her and stated she already had a routine, so she said okay last minute.

75.   Camron was consistently told the horse judging competition team needed to be at school

      one hour before school for practice, and anyone who failed to do so would be

      automatically kicked off the team.

76.   Nevertheless, when the white students missed horse judging competition practice there

      were no repercussions, but when Camron missed a practice for a school band competition

      she was told she needed to attend a Flexible Instructional Time (“FIT”) session to make it

      up.

77.   When Camron addressed the teacher about the disparate treatment, she was told the

      teacher knows the other students are not taking it serious, Camron needed to continue to

      do what she was supposed to do.

78.   Additionally, Camron was required to come to the classroom to study while the white

      students were told they could Astudy@ at home.

79.   More often than not, Camron was the only student present.

80.   In the spring of 2018, Camron participated in concert band.

81.   On one particular occasion, Camron was in the Band Hall sitting in the pit section getting

      ready to perform in class.

82.   A senior pit section leader walked up to Camron and stated “Oh my God! So, is this like

      a weave?!”

83.   She then asked Camron if her hair was a weave, and immediately stuck her hand in hair to

      feel it.
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84.   Feeling violated, Camron told the senior pit leader to not touch her, to which the girl stated

      she was the pit leader and she could touch her hair if she wanted to.

85.   These horrendous racial experiences forced Camron to want to quit band.

86.   In the summer of 2018, some student officers, including student G, student C, and student

      K, of the FFA program were seen vaping at a state FFA convention in Fort Worth, Texas.

87.   Camron spoke privately to the teacher about the other officers’ misconduct. The teacher

      spoke with the officers, who all came to Camron hotel room and were very

      confrontational.

88.   After the vaping incident, Camron began experiencing more even harassment and

      bullying. They began to call Camron a snitch and purposely left her out of group

      communications between the officers.

89.   When Ms. Parks brought the issues to the Principal=s attention he stated he asked the

      officers about the incident and they denied the incident, so he had to believe the other

      officers.

              iii. 2018-2019 SCHOOL YEAR

90.   On one occasion, a white student walked up to Camron and stated that he had a nickname

      for her, not Anigger, but noodle nigger!@

91.   Camron told Ms. Parks what happened, and she advised Camron to report the incident to

      Principal Robinson who handed it over to Assistant Principal McGraw.

92.   When Ms. Parks picked up Camron from school, Ms. Parks could tell Camron had been

      crying and was visibly shaken and angry.

93.   Camron informed her of the incident, and Ms. Parks immediately called Mr. Robinson’s

      Assistant to meet with him. That day, Mr. Robinson took Ms. Park’s statement of the
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       incident and told her he would address the issue right away.

94.    Ms. McGraw stated she was a former student of Bowie High School and she witnessed

       first-hand the racism Camron described and continues to see it in the hallways.

95.    Ms. Leos intervened in the meeting and told the family Ms. McGraw could not disclose

       the disciplinary actions taken against any student for confidentiality reasons.

96.    Less than thirty minutes after the meeting, the family arrived at the farm for Apig church@

       where they practiced showing the pigs in the arena for competition. They were met by the

       same white male student with two-three other students who began screaming Ahey you

       racist son-of-a-bitch! I thought we were banned from the farm cause we=re fucking racist!

       We may call someone Nigga!@

97.    The teacher, Ms. Dickinson, heard the racial slurs and harassment. Nevertheless, she failed

       to address the comments and instead stated she was cold and left to get her jacket out of

       the car.

98.    As the harassment and racial discrimination continued, Ms. Sneed called Principal

       Robinson, and demanded he intervene before someone gets hurt since none of the students

       were being disciplined for their actions. She was told that actions were being taken but

       changing the culture of the school took time. Further, she was not told what those actions

       were.

99.    Additionally, Mr. Robinson told Ms. Parks he would support Camron transferring to

       another campus if Ms. Parks was unhappy with the way things has transpired and were

       continuing to go.

100.   When Ms. Parks brought up her concerns regarding the racial jokes, slur, and harassment


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       in a meeting with Stephanie Parker, President of FFA Alumni, Kristin Benton, Treasurer

       of FFA Alumni, Susan Leos, Assistant Principal, and Mark Robinson, she was only offered

       the explanation that “ it is not just FFA kids, it’s all over Bowie.”

101.   As Camron and her family continued to advocate for themselves and point out the racial

       disparity, the Agriculture teachers started to become upset and retaliate towards C.S.

102.   Unsurprisingly, the thirty-year old Alumni Organization that Ms. Parks had become a

       board member of was disbanded after she brought the racial disparity to their attention and

       the organization started to report the problems.

103.   Shortly after the Alumni Organization was disbanded, the Principal filed a police report

       that claimed an old alumni tractor had been stolen by Mr. Sneed that had actually been sold

       when the organization was disbanded.

104.   Additionally, the teachers named Camron in the police report as a possible suspect.

105.   The family began receiving phone calls that the Principal and others were spreading rumors

       throughout the school and community about the stolen tractor and advised Mr. Sneed to

       come forward and admit the theft.

106.   The family immediately contacted Dr. Shapiro to meet and go over the accusations.

107.   When the family was finally able to view the footage of Mr. Sneed being present during

       the sell the tractor, the Principal asked the teachers to identify the Abald black guy@ who

       was with three white people.

108.   Craig Shapiro promised the family to hold to meetings to address the slander and

       defamation of character, but instead he avoided the family for months, and once again did

       nothing.


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109.   The week of the Travis County Youth Show (ATCYS@), Ms. Parks received a call from the

       Principal who informed her that if Camron made auction with her animals the school

       would not bid on her and support her, because the family did not join the booster club.

110.   Ms. Parks then checked with the parents of white students who were also not members,

       and not one of them received the same call.

111.   Student K.R., who carved a penis on C.S.’s equipment and cut her animals, kept showing

       up to places Camron was at to intimidate her while she showed up to TCYS, and became

       angry when she was asked to leave.

112.   She went to the campus to confront the Principal and was arrested.

113.   The family was informed that Student K.R. was arrested for trespassing and calling the

       Principal racial slurs such as Anigger lover,@ but not for the warrant she had for the crimes

       she committed against C.S.

114.   Rumors were spread about the family again. Specifically, that the family had Student K.R.

       arrested.

115.   Mark Fischer and Gary Adams pulled Mr. Sneed=s old criminal record from over thirty

       years ago to show families, students, and Travis County Board Members that Camron

       and her family should not be able to participate in school activities.

116.   The same people began gossiping and spreading rumors claiming that C.S.’s father was a

       criminal and he shouldn’t be around children while she was working the auction.

117.   Further, they told C.S.’s fellow classmates, FFA member, and people at the TCYS county

       show that Camron came from a bunch of criminals, causing Camron to break down.

118.   Camron texted and called her mother that she could not go on like this.


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119.   Camron left the auction stage and collapsed outside in tears. She eventually went to the

       bathroom and was crying uncontrollably.

120.   When Mr. Sneed arrived, he found C.B. being consoled by a family friend, Stephanie

       Parker.

121.   Camron was asked by a teacher Acan=t you just put this in a box to the side until after the

       auction?@

122.   Ms. Parks had reached out to Dr. Paul Cruz, Superintendent of AISD, since C.S.’s 8th grade

       year to address her concerns was always told by the secretary he was Avery busy@ and she

       would pass on the emails. She never received a response.

F.     EFFECTS OF THE RACIAL HARASSMENT AND BULLYING ON C.S.

123.   Due to the racial discrimination Camron has experienced as well as the retaliation for the

       last three years, Camron experienced from sleep apnea, loss of appetite, and inconsolable

       crying.

124.   Ms. Sparks has asked for mental health assistance from the school due to the failures of the

       School District, but received no support for that request.

125.   Campus police and Dr. Shapiro have made empty promises on remedying the effects on

       Camron, and are instead focused on the school=s reputation.

G.     THE SCHOOL DISTRICT VIOLATED TITLE VI IN THE FOLLOWING WAYS

126.   Whether it be pursuant to applicable jurisprudence, regulations, executive agency

       directives, Texas law, professional standards of care and School Board Policies and

       procedures, the Austin Independent School District violated the rights of C.S., in the

       following manners and particulars.

127.   The School District Officials failed to provide to provide Camron or her parents notice of
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       their procedural rights, as set forth by the regulations promulgated under Title VI.

128.   They never provided Camron or her parents the information about who the Title VI

       Coordinator was for the District.

129.   They never provided information to Camron or her parents about their right to file a

       formal grievance with the School District in a timely manner.

130.   They never provided Camron or her parents the information about their right to file a

       formal complaint with the Office of Civil Rights in a timely manner.

131.   They failed to provide to provide Camron school-based counseling services.

132.   They failed to offer the parents they pay for Camron to receive counseling services.

133.   They failed to provide her an aide or shadow to observe her at school.

134.   They failed to provide her social skills training.

135.   Moreover, the School District failed to implement appropriate safety measures to prevent

       future bullying and otherwise provide a safe environment for C.S.

136.   They failed to address the impact of the harassment on C.S.

137.   They failed to complete a confidential survey of bullying and harassment at the school.

138.   They failed to use the incident with Camron as a teaching moment with her classmates.

139.   They failed to use the incident with Camron as a teaching moment with staff.

140.   There were no special auditorium programs on Title VI related issues.

141.   There were no specific classroom programs on Title VI related issues.

142.   There was no meeting or mediation set up with Camron and any of the other children she

       had problems with.


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143.   There was no training to students or staff on issues of unconscious or implicit bias.

144.   Based upon all the above, it is clear that the Austin Independent School Board failed in a

       number of manners and particulars as well, regarding training and supervision of staff.

145.   For instance, even though Plaintiff=s parents made a number of explicit complaints they

       believed Camron was a victim of bullying and harassment because she was an African

       American female, no one ever reported it to the School Superintendent as required.

146.   Whatever investigations were done by District personnel, none were completed under the

       very specific purview and guidelines for a Title VI Investigation.

147.   The School Board apparently never provided any staff training on how to conduct a Title

       VI Investigation.

148.   Even though there are a substantial number of African American students there are no

       specific training programs for staff on the specific cultural issues regarding this

       race/ethnicity. Nor is there any specific training program to staff on implicit or

       unconscious bias.

149.   Because of the various failures of the School Board and School District personnel to

       correctly deal with the allegations that Camron was a victim of bullying and harassment,

       whether by other students or staff or both, because she was an African American female.

                                        VI. STATE ACTION

150.   Plaintiff incorporate by reference all the above-related paragraphs with the same force and

       effect as if herein set forth.

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151.   The District, in any capacities and in all matters, acted under color of state law when it

       permitted Plaintiff to be subjected to the wrongs and injuries set forth herein.

 VII. UNCONSTITUTIONAL POLICIES, PROCEDURES, PRACTICES & CUSTOMS

152.   During the relevant time period contemplated by this cause of action, the Austin ISD

       School Board had an actual practice and custom of conscious and deliberate indifference

       to the federal law, federal rules, directives from federal executive agencies, and their own

       School Board policies and procedures in regard to the discriminatory treatment of C.S.,

       and such failures were a moving force in the injuries to Camron for which she seeks

       recovery pursuant to 42 U.S.C. '1983.

153.   First and foremost, the District is liable to Camron for violations of C.S.’s rights pursuant

       to the Due Process Clause of the 14th Amendment pursuant to a Theory of Supervising

       Liability.

154.   Specifically, Dr. Craig Shapiro is the Associate Superintendent for all the Austin

       Independent School District high schools. He was intimately knowledgeable about the

       complaints that Camron was a victim of race-based animus. Pursuant to Board Policy,

       practice or custom he had the supervisory capacity to investigate such allegations. He

       failed to do so and was thereby deliberately indifferent to C.S.

155.   Additionally, he had the Supervisory duty to assure staff working under his purview were

       sufficiently trained in addressing race-based animus, and he failed to do so, and was

       deliberately indifferent to Camron thereby.

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156.   Specifically, the District had a custom and practice of refusing to fulfill the requisites of

       Title VI Jurisprudence and investigate allegations of bullying, harassment and assault after

       receiving complaints that such actions were based upon racial animus.

157.   In addition, and in the alternative, this School Board obviously failed to correctly supervise

       staff in regard to the laws, regulations and directives as noted above. Such failures, in

       addition and in the alternative to the above, rise to the level of a separate violation of the

       Fourteenth Amendment of the Constitution of the United States for which Plaintiff seek

       recovery pursuant to 42 U.S.C. '1983.

158.   Moreover, and in addition, and also in the alternative to the above, this School Board

       obviously has failed to train staff in regard to the laws, regulations and directives as noted

       above. Such failures, in addition and in the alternative to the above, rise to the level of a

       separate violation of the Fourteenth Amendment of the Constitution of the United States

       for which Plaintiff seek recovery pursuant to 42 U.S.C. '1983.

159.   Specifically, they obviously failed to train staff on how to address complaints based upon

       racial discrimination. They failed to train staff on cultural issues regarding African-

       American persons. They failed to train staff on cultural issues regarding unconscious bias

       or implicit bias of persons who are of African American descent. The need for such training

       is obvious when looking at the issues facing the greater City of Austin, the State of Texas

       and the greater United States of America, regarding these very same concerns. Moreover,

       such training is required by federal jurisprudence.

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   VIII. CLAIMS PURSUANT TO TITLE VI OF THE CIVIL RIGHTS ACTS OF 1964

160.   Plaintiff incorporate by reference all the above-related paragraphs with the same force and

       effect as if herein set forth.

161.   Title VI of the Civil Rights Act of 1964 and its implementing regulations require that each

       state that receives disbursements, including the state=s political subdivisions, not permit the

       student to be a victim of discrimination based upon race or racial stereotypes.

162.   Plaintiff assert that because the supervisory staff with Austin ISD knew that Camron was

       being bullied, harassed and physically assaulted based upon her race and failed to keep her

       safe from harm, and failed to provide her an environment that was not hostile, such failures

       as noted above, have together and separately, contributed to violating her civil rights

       pursuant to Title VI.

163.   Pursuant to relevant jurisprudence on the topic, including School Board Policies and

       Procedures, District personnel had a duty to investigate such concerns and refused to do so

       and acted with deliberate indifference, thereby violating her civil rights pursuant to Title

       VI thereby.

164.   In addition, Plaintiff assert that because the School District Defendant refused to remedy

       the effects of the bullying and harassment Camron experienced, whatever the cause, also

       violating her civil rights pursuant to Title VI thereby.

                  XI. RATIFICATION AND RESPONDENT SUPERIOR

165.   Plaintiff incorporate by reference all the above-related paragraphs with the same force and

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       effect as if herein set forth.

166.   Austin ISD ratified the acts, omissions and customs of school district personnel and staff.

167.   As a result, Austin ISD is vicariously responsible for the acts and omissions of staff persons

       who were otherwise responsible for the safety of Camron pursuant to the Theory of

       Respondent Superior.

                                    X. PROXIMATE CAUSE

168.   Plaintiff incorporate by reference all the above related paragraphs with the same force and

       effect as if herein set forth.

169.   Each and every, all and singular of the foregoing acts and omissions, on the part of the

       School District, taken separately and/or collectively, jointly and severally, constitute a

       direct and proximate cause of the injuries and damages set forth herein.

                                        XI. DAMAGES

170.   Plaintiff incorporate by reference all the above-related paragraphs with the same force and

       effect as if herein set forth.

171.   As a direct and proximate result of the School District=s deliberate indifference, Camron

       has suffered injuries and damages, for which she is entitled to recover herein including but

       not limited to:

       a.      Loss of equal opportunities to educational services as compared to her Caucasian

               peers;

       b.      Physical pain in the past;

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       c.        Medical expenses in the past;

       d.        Mental anguish in the past;

       e.        Mental anguish in the future;

       f.        Physical impairment in the past,

       g.        Reimbursement of past and future taxes collected by the Austin Independent School

                 District that Camron cannot benefit from; and

       h.        Various out-of-pocket expenses incurred by her family but for the acts and

                 omissions of the School District.

                                     XII. ATTORNEY FEES

172.   Plaintiff incorporate by reference all the above related paragraphs, as if fully set forth

       herein.

173.   It was necessary for Plaintiff to retain the undersigned attorneys to file this lawsuit. Upon

       judgment, Plaintiff are entitled to an award of attorney fees and costs pursuant to 42 U.S.C.

       '2000d et seq. and 42 U.S.C. '1988.

                                           XIII. SPOLIATION

174.   Plaintiff hereby require and demand that Austin ISD preserve and maintain all evidence

       pertaining to any claim or defense related to the assault or other violations that make the

       basis of the complaint and the damages resulting therefrom, including statements,

       photographs, videotapes, audiotapes, surveillance, security tapes, business or medical

       records, incident reports, telephone records, emails, text messages, electronic

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       data/information, and any other evidence regarding the violations set forth herein.

175.   Failure to maintain such items will constitute Aspoliation@ of evidence, which will

       necessitate use of the spoliation inference rule- an inference or presumption that any

       negligent or intentional destruction of evidence was done because the evidence was

       unfavorable to the spoliator=s case.

                                  XIV. DEMAND FOR JURY TRIAL

176.   Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demand a jury trial for all

       issues in this matter.

                                                  PRAYER

               WHEREFORE, PREMISES CONSIDERED, Plaintiff pray for judgment

against the District in the manner and particulars noted herein and above, and in an amount

sufficient to fully compensate them for the elements of damages noted herein and above, judgment

for damages, recovery of attorney=s fees and costs for the preparation and trial of this cause of

action and for its appeal if required, together with pre- and post- judgment interest and court costs

expended herein, as well as the equitable issues noted herein and above; and for such other relief

as the Court, in equity, deems just and proper.

                                                      Respectfully submitted,
                                                      /s/ Martin J. Cirkiel
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                                  ATTORNEYS FOR PLAINTIFFS




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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing has been
forwarded to all parties on this 13th day of April, 2020, in accordance with the Federal Rules of
Civil Procedure and the Court’s electronic filing system.

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                                       /s/ Martin J. Cirkiel
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First Amended Complaint
